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                                        UNITES STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

   AFFORDABLE AERIAL PHOTOGRAPHY,
   INC.,

         Plaintiff,                                                   CASE NO.: 9:20-CV-82262

   v.

   SAFE HARBOR REALTY, LLC d/b/a
   KELLER WILLIAMS REALTY OF THE
   PALLM BEACHES;
   TRACEY LAVOLL;
   SAFE HARBOUR REALTY OF JUPITER,
   LLC d/b/a KELLER WILLIAMS REALTY OF
   JUPITER;
   MCKINLEY NAVAROLI, P.A.;
   MCKINLEY NAVAROLI;
   LORI HOBIN P.A.;
   LORI HOBIN;
   JOHN FREDERICK SIMMONDS;
   AMY CATHLEEN SIMMONDS P.A.;
   AMY CATHLEEN SIMMONDS;
   SAFE HARBOR REALTY OF PORT ST.
   LUCIE LLC d/b/a KELLER WILLIAMS
   REALTY OF PORT ST. LUCIE;
   and
   MARK STEVEN BRADLEY,

         Defendants.
   _______________________________/

        DEFENDANTS’ MOTION TO DISMISS SECOND AMENDED COMPLAINT

        COME NOW Defendants, SAFE HARBOR REALTY, LLC d/b/a KELLER WILLIAMS

   REALTY OF THE PALLM BEACHES (“KW Palm Beaches”); TRACEY LAVOLL (“Lavoll”);

   SAFE HARBOUR REALTY OF JUPITER, LLC d/b/a KELLER WILLIAMS REALTY OF

   JUPITER (“KW Jupiter”); MCKINLEY NAVAROLI, P.A. (“MNPA”); MCKINLEY

   NAVAROLI (“Navaroli”); LORI HOBIN, P.A. (“LHPA”); LORI HOBIN (“Hobin”); JOHN

   FREDERICK SIMMONDS (“JFS”), AMY CATHLEEN SIMMONDS (“ACS”); AMY
                                                COLE, SCOTT & KISSANE, P.A.
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   CATHLEEN SIMMONDS, P.A. (“ACSPA”); SAFE HARBOR REALTY OF PORT ST. LUCIE

   LLC d/b/a KELLER WILLIAMS REALTY OF PORT ST. LUCIE (“KW Port St. Lucie”) and

   MARK STEVEN BRADLEY (“Bradley”) (hereinafter, collectively, “Defendants”) by and

   through their undersigned counsel, and pursuant to the Federal Rule of Civil Procedure 12(b)(6),

   file this Motion to Dismiss Plaintiff’s, AFFORDABLE AERIAL PHOTOGRAPHY, INC.’s,

   (hereinafter “Plaintiff”) Second Amended Complaint [D.E. 17], and state as follows:

                     INTRODUCTION AND SUMMARY OF THE ARGUMENTS

      This action arises out of the alleged copyright infringement of professional real estate

   photographs. More specifically, Plaintiff alleges Defendants, collectively, have engaged in

   copyright infringement, removal of copyright management information (“CMI”) and vicarious

   copyright infringement. Plaintiff specifically groups Defendants by their location: Keller Williams

   of the Palm Beaches (“KW Palm Beaches”), Keller Williams Realty of Jupiter (“KW Jupiter”) and

   Keller Williams Realty of Port St. Lucie (“KW Port St. Lucie”). See Amended Complaint, ¶¶3-4,

   5-13, 14-15. Lavoll is part of the KW Palm Beaches team and holds a Real Estate License under

   her name. Id. at ¶4. Bradley is part of the KW Port St. Lucie team and holds a Real Estate License

   under his name. Id. at ¶15. Navaroli, MNPA, Hobin, LHPA, JFS, ACS and ACSPA are all part of

   the KW Jupiter team. Id. at ¶¶6-13. MPNA, LHPA, JFS and ACSPA all hold Real Estate licenses

   under their respective names. Id. at ¶¶6, 8, 10, 11. Curiously, Navaroli, Hobin and ACS are the

   only individuals named in their individual capacities. Moreover, there are no corresponding

   allegations directed to the private, individual capacities of Lavoll, JFS or Bradley. The KWJ Agent

   Defendants identified by Plaintiff specifically include Navaroli, Hobin, ACS, MNPA, LHPA, JFS




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   and ACSPA. Id. at ¶13. Again, Navaroli, Hobin and ACS are the only individuals included in their

   individual capacities.

      Plaintiff attempts to overcome the threadbare allegations contained in the Initial Complaint

   accompanied by over four hundred pages of documents with an Amended Complaint that fails to

   apprise Defendants of the factual basis underlying claims of copyright infringement, removal of

   copyright management information (“CMI”) and vicarious copyright infringement claims.

   Plaintiff’s generalized conclusions fail to establish a factual basis for the claims alleged. As

   detailed further below, Defendants request that this Court dismiss Count I, Count II, Count III,

   Count V and Count VIII; Count IV and VI as it relates to Hobin/LHPA, JFS/ACS/ACSPA and

   Navaroli/MNPA as provided 880 Taft Ct. Listing; and Count VII and Count IX as it relates to the

   works entitled “71 N River Dr Night C,” “71 N River Dr Night A” and “River Dr Sunset,” or in

   the alternative, enter an order for more definite statement.of the Amended Complaint, or in the

   alternative, enter an order for more definite statement.

                                                   MEMORANDUM OF LAW

      I.       Legal Standard for Motion to Dismiss

      “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted

   as true, to ‘state a claim to relief that is plausible on its face.’” Forman v. Morris, 2010 WL

   2723189, at *3 (S.D. Fla. July 6, 2010) (quoting Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009)).

   “A pleading must contain ‘more than labels and conclusions, and a formulaic recitation of the

   elements of a cause of action will not do.’” Forman, 2010 WL 2723189, at *3 (quoting Bell Atl.

   Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A ‘claim has facial plausibility when the plaintiff

   pleads factual content that allows the court to draw the reasonable inference that the defendant is


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   liable for the misconduct alleged.’” Garcia-Bengochea v. Carnival Corp., 407 F. Supp. 3d 1281,

   1285–86 (S.D. Fla. 2019), motion to certify appeal denied, 2019 WL 7945691 (S.D. Fla. 2019)

   (quoting Iqbal, 129 S.Ct. 1937, 1949). “Pleadings that ‘are no more than conclusions, are not

   entitled to the assumption of truth. While legal conclusions can provide the framework of a

   complaint, they must be supported by factual allegations.’” Forman, 2010 WL 2723189, at *3

   (quoting Iqbal, 129 S.Ct. at 1950). “Threadbare recitals of the elements of a cause of action,

   supported by mere conclusory statements, do not suffice.” Iqbal, 129 S. Ct. at 1949.

      “A motion for a more definite statement is appropriate where the pleasing ‘is so vague or

   ambiguous that a party cannot reasonably be required to frame a responsive pleading.’” Betancourt

   v. Marine Cargo Management, Inc., 930 F.Supp. 606, 608 (quoting Fed. R. Ci. P. 12(e)). “In

   considering such a motion, the Court should be mindful of the liberal pleading requirements of the

   Federal Rules of Civil Procedure, pursuant to which a ‘short and plain statement of the claim” will

   suffice.’” Betancourt, 930 F. Supp. at 608 (quoting Fed. R. Civ. P. 8(a)(2)). “When the exhibits

   attached to the complaint contradict the general and conclusory allegations of the pleading, the

   exhibits govern.” Garcia-Bengochea v. Carnival Corp., 407 F. Supp. 3d 1281, 1288 (S.D. Fla.

   2019), motion to certify appeal denied, 2019 WL 7945691 (S.D. Fla. 2019) (quoting Renfroe v.

   Nationstar Mortg., LLC, 822 F.3d 1241, 1245 (11th Cir. 2016)).

      “A plaintiff alleging copyright infringement must prove two elements to establish a prima facie

   case: ‘(1) ownership of a valid copyright, and (2) copying of constituent elements of the work that

   are original.’” Fodere v. Lorenzo, 2011 WL 465468, at *3 (S.D. Fla. Feb. 4, 2011), aff’d, 441 F.

   App’x 666 (11th Cir. 2011) (quoting Latimer v. Roaring Toyz, Inc., 601 F.3d 1224, 1232–33 (11th

   Cir.2010)).


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       “Under the Digital Millennium Copyright Act, no person shall ‘intentionally remove or alter

   any copyright management information[.]’” Miller v. Suriel Group, Inc., 2020 WL 6122246, at *3

   (S.D. Fla. 2020) (quoting 17 U.S. C. § 1201(b)(1)). “Copyright management information includes

   information such as the title and name of the author of a work.” Miller, 202 WL 6122246, at *3

   (citing 17 U.S.C. § 1202(c)(1)-(2)). “An action for removal of copyright management information

   requires the information to be removed from a plaintiff’s product or original work.” Miller, 202

   WL 6122246, at *3 (quoting Faulkner Press, L.L.C. v. Class Notes, L.L.C., 756 F.Supp.2d 1352,

   1359 (N.D. Fla. 2010)).

       “To prevail on a claim for vicarious infringement, a plaintiff must allege that the defendant

   ‘infringes vicariously by profiting from direct infringement while declining to exercise a right to

   stop or limit it.’” Hydentra HLP Int. Ltd. v. Luchian, 2016 WL 5951808, at *14 (S.D. Fla. 2016)

   (quoting Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930 (2005)). “The

   defendant must have the right and ability to supervise the infringing activity.” Luchian, 2016 WL

   5951808, at *14 (quoting Coach, Inc. v. Swap Shop, Inc., 916 F.Supp.2d 1271, 1282 (S.D. Fla.

   2012)).

       II.       Failure to State a Claim Against Lavoll or KW Palm Beach1—Counts I, II and
                 III



   1
     Curiously, Plaintiff specifically identifies “Flagler Museum aerial A” as one of the works at issue
   in this case. See Amended Complaint, ¶45. The related factual basis related to this Work is
   provided in Exhibit B-4 [D.E. 17-5] and is specifically aimed at KW Palm Beach. However, there
   is no claim alleged in the Amended Complaint that relates to this particular Work or alleges any
   direct copyright infringement or removal of CMI by KW Palm Beach. Rather, the only claim that
   is specifically directed to KW Palm Beach is Count III for vicarious copyright infringement based
   on the allegedly infringing activities of Lavoll. See Amended Complaint, ¶¶75-81. Given the lack
   of any specific claim against KW Palm Beach, Defendants ask this Court to strike the “Flagler
   Museum aerial A” work listed in the Amended Complaint because there is no corresponding claim
   or factual basis alleged therein.
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      “A ‘claim has facial plausibility when the plaintiff pleads factual content that allows the court

   to draw the reasonable inference that the defendant is liable for the misconduct alleged.’” Garcia-

   Bengochea v. Carnival Corp., 407 F. Supp. 3d 1281, 1285–86 (S.D. Fla. 2019), motion to certify

   appeal denied, 2019 WL 7945691 (S.D. Fla. 2019) (quoting Iqbal, 129 S.Ct. 1937, 1949).

      Here, Plaintiff has not alleged an adequate factual basis to support those claims directed to

   Lavoll or those that arise from Lavoll’s allegedly infringing activities. The MLS Report provided

   in Exhibit B-1 [D.E. 17-2] does not demonstrate that Lavoll specifically uploaded copies of

   “Martinique Singer Island aerial a” to the listing or when she allegedly removed copyright

   management information from the same. The inclusion of the dates Plaintiff discovered the

   allegedly infringing activity is crucial to establishing that Plaintiff’s claims are not barred by the

   statute of limitations. See 17 U.S.C. § 507. Given the lack of clarity regarding the statute of

   limitations as it relates to the allegations related to Exhibit B-1, Defendants ask this Court to order

   Plaintiff to provide a more definite statement as to Counts I, II and III.

      First, as to Count I for copyright infringement, the MLS Report does not include any details

   about when the work at issue was allegedly copied and uploaded to MLS. Instead, the MLS Report

   lists a total of three “changes” made by Lavoll on February 14, 2018, none of which include adding

   any documents or images to the listing. See Ex. B-1, p. 10. Moreover, the remainder of images

   provided in Exhibit B-1 are undated screenshots from various real estate listing websites and fail

   to include any further information as to who uploaded the images contained therein. Thus, as it

   pertains to Count I, Plaintiff has failed to allege any factual basis to support the claim that Lavoll

   engaged in infringing activity related to “Martinique Singer Island aerial a.” Thus, Defendants ask

   this Court to dismiss Count I against Lavoll.


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      Second, as to Count II for removal of copyright management information, there are no dates

   included on the pages where Plaintiff presents a side-by-side comparison of the alleged original

   work and the alleged reproduced work. See Ex. B-1, p. 21, 23. Absent any indication that Lavoll

   herself uploaded the altered images to these various websites or the date these allegedly infringing

   images were uploaded or discovered, Plaintiff has failed to demonstrate that Lavoll specifically

   removed copyright management information from the work at issue. Absent any allegations

   demonstrating the causal connection and timeliness of this claim, Defendants ask this Court to

   dismiss Count II against Lavoll.

      Finally, as to Count III for vicarious copyright infringement against KW Palm Beach for

   Lavoll’s allegedly infringing activities, Plaintiff has failed to demonstrate the underlying basis for

   this claim—that Lavoll infringed on Plaintiff’s Work. Again, the lack of dates for the majority of

   the items provided in Exhibit B-1 fails to demonstrate that this claim is not barred by the statute

   of limitation. Given that there is no factual basis alleged in the Amended Complaint or

   demonstrated by Exhibit B-1, KW Palm Beach cannot be held vicariously liable for claims against

   other individuals that do not state a proper claim. Accordingly, Defendants ask this Court to

   dismiss Count III against KW Palm Beach.

      Accordingly, Counts I and II, alleging copyright infringement and the removal of copyright

   management information by Lavoll, as well as Count III, alleging vicarious copyright infringement

   by KW Palm Beach for Lavoll’s infringing activities, must be dismissed.

      III.       The Complaint Impermissibly Lumps Individual and Corporate Defendants
                 Together Without Alleging Any Specific Wrongdoing—Counts IV, V, and VI

             “When complaint indiscriminately lumps all defendants together, it fails to comply with

   Rule 8.” Fox v. Loews Corp., 309 F. Supp. 3d 1241, 1249 (S.D. Fla. 2018) (quoting Joseph v.

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   Bernstein, 2014 WL 126008065, at *3 (S.D. Fla. 2014)). “By lumping all the defendants together

   in each claim and providing no factual basis to distinguish their conduct, the [] Complaint fails

   to satisfy the minimum standard Rule 8.” Lane v. Capital Acquisitions & Mgmt., Co, 2006 WL

   4590705, at *5 (S.D. Fla. 2006) (emphasis added).

      Where there are multiple defendants in an action, “the factual allegations must give each

   defendant fair notice of the nature of the claim and the grounds on which the claim rests.”

   Bernstein, 2014 WL 12600805, at *3 (quoting George & Co., LLC v. Alibaba.com, Inc., 2011 WL

   681940, at *2 (M.D. Fla. Dec. 13, 2011) (emphasis added) (citations omitted)). Moreover, “the

   complaint should inform each defendant of the nature of his alleged participation in the fraud.”

   Brooks v. Blue Cross and Blue Shield of Florida, Inc., 116 F.3d 1364, 1380-82 (11th Cir. 1997).

      Ultimately, however, “[a] corporation and its owners are separate legal entities existing

   independently of each other.” R/V Beacon, LLC v. Underwater Archeology & Expl. Corp., 2014

   WL 4930645, at *3 (S.D. Fla. 2014) (citing United States v. Bestfoods, 524 U.S. 51, 61, 118 S.Ct.

   1876, 141 L.Ed.2d 43 (1998)).

      “The Eleventh Circuit has explained that ‘asserting multiple claims against multiple defendants

   without specifying which of the defendants are responsible for which acts or omissions’ is

   improper.” NorthStar Moving Holding Co., Inc. v. Northstar Movers, 2020 WL 3303972, at *2

   (S.D. Fla. 2020) (citing Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313, 1323 (11th

   Cir. 2015)). “This kind of shotgun pleading ‘fail[s] to one degree or another, and in one way or

   another, to give the defendants adequate notice of the claims against them and the grounds upon

   which each claim rests.’” Id.




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          First, Plaintiff lumps together several individuals and corporate entities to comprise

   Defendants, collectively, in alleging conclusory statements without any further detail. More

   specifically, Plaintiff provides a section entitled “Infringement By Defendants,” wherein Plaintiff

   alleges Defendants, collectively, copied the Works identified and distributed further copies “in the

   course and scope of defendants’ professional real estate businesses, and in the course of rendering

   professional real estate services as associates and brokers.” Amended Complaint, ¶53. Plaintiff

   provides the following to establish the factual bases for each of the claims alleged in the Amended

   Complaint:

          54. Defendants committed copyright infringement of the Works as evidenced by
          the documents attached hereto at Exhibit “B” that show (1) AAP’s original Works,
          (2) AAP’s Certificates of Registration, and (3) defendants’ unauthorized and
          unlicensed use of AAP’s copyrighted Works. Attached hereto as Exhibit “A” is a
          document summarizing the infringements, and their corresponding registrations
          and original images. For clarity, the infringements are shown as: Lavoll/KWPB,
          Exhibit B-1c; Navaroli/KWJ/MPNA, Exhibit B-2c and B-3c; KWPB, Exhibit B-
          4c; Hobin/KWJ/LHPA, Exhibit B-5c & B-6c; Bradley/KWPSL, Exhibit B-7c;
          JFS/KWJ/ACS, Exhibit B-8c.

          55. In connection with their infringement of the Works at issue in this action,
          defendants removed copyright management information from the Works as
          evidenced by the documents attached hereto in Exhibit B, subsections c. (Exhibit
          B-1c Lavoll; Exhibit B-4c; Exhibit B-7c; Exhibit B-8c, Simmonds).

   Amended Complaint, ¶¶54-55 (emphases in original).

          From these two paragraphs alone, not only are Defendants tasked with reviewing over 150

   pages of exhibits attached to the Amended Complaint in order to identify the basis for each of

   Plaintiff’s claims, but the attachments do not consistently provide the dates or times they were

   discovered, let alone when the alleged infringing activities were committed. Moreover, Exhibit A

   [D.E. 17-1] also identifies several additional exhibits that are not included or attached to the

   Amended Complaint, as well as specific works that are not listed in the Amended Complaint at

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   paragraph 45—which provides a list of the Works at issue. For example, Exhibit A indicates that

   the third exhibit attached to the Amended Complaint refers to “Ocean Trail Beach Access AAP

   05-08-09” but there is no such exhibit in any of the items attached to the Amended Complaint; nor

   is “Ocean Trail Beach Access AAP 05-08-09” identified in paragraph 45 of the Amended

   Complaint. The same is true for the seventh exhibit listed in Exhibit A.

          As a separate issue, Plaintiff lists a total of six exhibits allegedly demonstrating Lori

   Hobin’s infringing activity related to the “Jupiter Lighthouse with Boat A 2010 AAP,” but only

   the tenth and eleventh exhibits listed in Exhibit A are actually attached to the Amended Complaint.

   See Exhibits B-5 [D.E. 17-6]; B-6 [D.E. 17-7]. The third, seventh, eighth, ninth, twelfth and

   thirteenth exhibits listed in Exhibit A are not attached to the Amended Complaint and therefore,

   do not establish any factual basis in support of the claims alleged in the Amended Complaint.

          Notably, Plaintiff lumps together Navaroli and MNPA, as well as Hobin and LHPA.

   Plaintiff similarly lumps together “JFS/KWJ/ACS” but fails to include ACSPA, the entity that

   actually holds ACS’s Real Estate License. It is unclear from the information provided above, the

   allegations contained in the Amended Complaint, and the exhibits attached to the Amended

   Complaint, whether Plaintiff is bringing these claims against each licensed entity or individual, as

   well as each named person in their individual capacity. This issue is further complicated by

   Plaintiff’s designation of “KWJ Agent Defendants” in the title for Count IV, which includes

   Navaroli, Hobin, MNPA, LHPA, JFS, ACSPA and ACS. See Amended Complaint, p. 13.

   However, the allegations directed to MNPA and Navaroli, for example, are the same in Exhibits

   B-2 [D.E. 17-3] and B-3 [D.E. 17-4]. See Amended Complaint, ¶86. The allegations directed to

   Hobin and LHPA are the same and presented in Exhibits B-5 [D.E. 17-6] and B-6 [D.E. 17-7]. Id.


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   Finally, the allegations aimed at JFS and ACS, but for some reason not ACSPA, are singularly

   contained in Exhibit B-8 [D.E. 17-9]. Id. As will be discussed in further detail below, Plaintiff has

   failed to allege any factual basis to demonstrate the claims stated in the Amended Complaint and

   Plaintiff’s conclusory reliance on the several exhibits attached to the Amended Complaint is

   insufficient. The Amended Complaint, as pled, requires the reader to determine when, how and to

   what extent any of the Defendants infringed on Plaintiff’s works—and yet, still fails to demonstrate

   a causal connection between many of the purported infringing activities and Defendants. In this

   regard, Defendants ask that this Court order Plaintiff to present a more definite statement regarding

   these claims.

          Second, Plaintiff also lumps together a subset of entities and individuals related to claims

   of removing copyright management information (“CMI”) from Plaintiff’s works. See Amended

   Complaint, ¶55. Plaintiff again fails to identify any specific conduct and instead identifies the

   related exhibits “(Exhibit B-1c; Lavoll; Exhibit B-4c; Exhibit B-7c Bradley; Exhibit B-8c,

   Simmonds).” Id. First, there is no corresponding claim for the removal of CMI directed to KW

   Palm Beach, which is allegedly demonstrated in Exhibit B-4. Second, Plaintiff’s reference to

   “Simmonds” for Exhibit B-8 lumps together ACS, JFS and ACSPA but does not identify the

   specific conduct of any named Defendant, nor does Exhibit B-8 indicate any specific conduct

   undertaken by ACS, JFS or ACSPA—their names are nowhere to be found in this exhibit.

          Given that the only factual basis for all of the claims alleged is contained in the 151 pages

   of exhibits attached to the Amended Complaint, Defendants ability to respond to these allegations

   again remains unnecessarily difficult and required the undersigned to meticulously review these

   exhibits for Defendant to be able to understand the basis for each of Plaintiff’s claims. In


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   conjunction with the issues related to those individuals identified in their individual capacities,

   Defendants are confused as to which entity and/or individual is liable for which conduct—as there

   are no specific events tied to these conclusory allegations. For example, Count IV alleges that both

   Hobin and LHPA are liable for the infringing activity supposedly demonstrated in Exhibit B-5 and

   B-6, however, there is no indication of which alleged activities are specific to Hobin in her

   individual capacity and which are specific to LHPA. This same issue applies to Navaroli and

   MPNA, as well as ACS and ACSPA. Finally, as the alleged infringing activities vary in time, or

   their timeliness is not indicated at all, it even appears some of Plaintiff’s claims may be barred by

   the Statute of Limitation. See 17 U.S.C. § 507.

            Accordingly, the claims directed KWJ Agent Defendants, Navaroli and MNPA; Hobin and

   LHPA; JFS, ACS and ACSPA—specifically provided in Counts IV and VI— and the claim for

   removal of CMI by ACS, JFS and ACSPA—Count V—must be dismissed, or, in the alternative,

   an order instructing a more definite statement as to these issues.

      IV.       Failure to State a Claim for Copyright Infringement Against Hobin, LHPA, JFS,
                ACS or ACSPA, and Failure to State a Claim for Vicarious Copyright
                Infringement Against KW Jupiter—Counts IV and VI

      “A ‘claim has facial plausibility when the plaintiff pleads factual content that allows the court

   to draw the reasonable inference that the defendant is liable for the misconduct alleged.’” Garcia-

   Bengochea v. Carnival Corp., 407 F. Supp. 3d 1281, 1285–86 (S.D. Fla. 2019), motion to certify

   appeal denied, 2019 WL 7945691 (S.D. Fla. 2019) (quoting Iqbal, 129 S.Ct. 1937, 1949).

      “Under the Copyright Act, a civil copyright action must be brought within three years after the

   claim accrued.” Webster v. Dean Guitars, 955 F.3d 1270, 1276 (11th Cir. 2020) (discussing 17

   U.S.C. § 507). “[A] copyright infringement claim ‘ordinarily accrues when a plaintiff has a


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   complete and present cause of action,’ that is, ‘when an infringing act occurs.’” Webster, 955 F.3d

   at 1276 (quoting Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 670 (2014)).

       Unfortunately, as previously indicated above, Plaintiff has failed to present any allegations or

   factual basis to support the claims alleged in Count IV for copyright infringement. As provided in

   further detail below, the exhibits purporting to establish the factual basis for this claim are

   insufficient.

                a. Copyright Infringement by Hobin/LHPA—Count IV

           Exhibit B-5 [D.E. 17-6], is directed only to Hobin/LHPA and the listing for 272 Feather

   Point S, provides two different versions of the MLS Report. The first version of the Report, at p.

   8-17, clearly shows that the Work at issue was added on January 21, 2017 and subsequently

   removed on April 28, 2017. Ex. B-5, p. 9, 12. Moreover, in this first version, the work at issue is

   not included in the post. See id., p. 17. The second version of the Report, at p. 18-25, was

   discovered on February 7, 2017, and does not include information regarding when the images were

   uploaded but shows that the Work at issue was included. Id., p. 24. Aside from having to

   meticulously review the information contained therein, this entire exhibit refers to alleged

   copyright infringement that occurred over three years ago and is therefore barred by the statute of

   limitation. To the extent that this exhibit attempts to demonstrate Hobin, LHPA or KW Jupiter

   infringed on Plaintiff’s Work, these claims are barred and this exhibit is essentially a nullity. See

   17 U.S.C. § 507

           Exhibit B-6 [D.E. 17-7], is directed to Hobin/LHPA and the listing for 4161 S Highway 1,

   does not include any MLS Report information and instead provides two, undated screenshots of

   Realtor.com displaying the Work at issue. Given there are no dates associated with this alleged


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   infringement, Defendants are left to wonder whether this is also barred by the statute of limitation.

   Moreover, there is no indication of who uploaded this image to Realtor.com. Hobin’s name isn’t

   even included in this listing, nor is there any reference to LHPA. Plaintiffs has failed to

   demonstrate any factual basis regarding copyright infringement.

          It should further be noted that while Plaintiff lists a total of seven exhibits demonstrating

   Hobin’s alleged infringing activities in Exhibit A [D.E. 17-1], only two are actually attached to the

   Amended Complaint, and even then, only one includes the dates of the alleged infringing activity

   and establishes that any claim is barred by the statute of limitation. Plaintiff has failed to

   demonstrate that Hobin/LHPA engaged in any infringing activity within the past three years.

   Accordingly, Defendants ask this Court to dismiss Count IV as alleged against Hobin/LHPA.

               b. Copyright Infringement by JFS, ACS and ACSPA—Count IV

          Exhibit B-8 [D.E. 17-9], is specifically direct to JFS, ACS, and ACSPA, supposedly

   demonstrates their infringing activities related to Plaintiff’s copyrighted work entitled “Singer

   Island Welcome aerial pano 2008.” See Amended Complaint, ¶¶45, 86. Notably, however, Ex. B-

   8 does not include any MLS Listings with any data demonstrating who uploaded any particular

   image, when the image with uploaded or when the allegedly infringing works were discovered by

   Plaintiff. Instead, Ex. B-8 simply includes undated screenshots of the “Simmonds Realty Team”

   site page for Singer Island real estate listings on the Keller Williams (“KW”) website. See Ex. B-

   8, p. 8-11. The Amended Complaint fails to allege any connection between the Simmonds Realty

   Team and JFS, ACS and ACSPA. While ACS and JFS’s last names are Simmonds, there is no

   indication that the Simmonds Realty Team is comprised of JFS, ACS or ACSPA, nor are JFS,

   ACS or ACSPA mentioned anywhere on these pages. Moreover, given the absence of any dates—


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   Defendants are concerned this claim may be barred by the statute of limitation. Accordingly,

   Defendants ask this Court to dismiss Count IV as to JFS, ACS and ACSPA.

               c. Failure to State a Claim for Vicarious Copyright Infringement Against KW
                  Jupiter—Count VI

           “To prevail on a claim for vicarious infringement, a plaintiff must allege that the defendant

   ‘infringes vicariously by profiting from direct infringement while declining to exercise a right to

   stop or limit it.’” Hydentra HLP Int. Ltd. v. Luchian, 2016 WL 5951808, at *14 (S.D. Fla. 2016)

   (quoting Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930 (2005)). “The

   defendant must have the right and ability to supervise the infringing activity.” Luchian, 2016 WL

   5951808, at *14 (quoting Coach, Inc. v. Swap Shop, Inc., 916 F.Supp.2d 1271, 1282 (S.D. Fla.

   2012)). It follows that where the Plaintiff has not demonstrated that an infringing activity has

   occurred, a claim for vicarious liability for the same cannot stand.

      As discussed above, the allegations and corresponding citation to the exhibits attached to the

   Amended Complaint fail to demonstrate Hobin/LHPA and JFS/ACS/ACSPA engaged in any

   infringing activities. Thus, to the extent Plaintiff seeks to hold KW Jupiter vicariously liable for

   the infringing activity in Count IV, Defendants ask this Court to dismiss the corresponding claim

   for vicarious copyright infringement for the same presented in Count VI.

      Accordingly, Defendants ask this Court to dismiss Count IV in its entirety as it relates to

   Hobin/LHPA and JFS/ACS/ACSPA; and to dismiss Count VI as it relates to the failure to

   demonstrate the underlying infringing activity identified in Count IV.

      V.       Failure to State a Claim for Removal of Copyright Management Information
               Against JFS, ACS and ACSPA—Count V

      “Under the Digital Millennium Copyright Act, no person shall ‘intentionally remove or alter

   any copyright management information[.]’” Miller v. Suriel Group, Inc., 2020 WL 6122246, at *3
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   (S.D. Fla. 2020) (quoting 17 U.S. C. § 1201(b)(1)). “Copyright management information includes

   information such as the title and name of the author of a work.” Miller, 202 WL 6122246, at *3

   (citing 17 U.S.C. § 1202(c)(1)-(2)). “An action for removal of copyright management information

   requires the information to be removed from a plaintiff’s product or original work.” Miller, 202

   WL 6122246, at *3 (quoting Faulkner Press, L.L.C. v. Class Notes, L.L.C., 756 F.Supp.2d 1352,

   1359 (N.D. Fla. 2010)).

      Here, as provided in Exhibit B-8 [D.E. 17-9], Plaintiff merely provides screenshots of the

   “Simmonds Realty Team” site page for Singer Island listings on the KW website. See Ex. B-8, p.

   8-11. None of these images purporting to demonstrate the removal of CMI include the dates these

   screenshots were taken, when the images of the Work were added or who specifically added them.

   Absent any indication of the timeliness of these images to demonstrate JFS, ACS and ACSPA

   removed copyright management information, Plaintiff has failed to properly state a claim in Count

   V. Moreover, Plaintiff has failed to allege that the “Simmonds Realty Team” includes or is

   synonymous with JFS, ACS and ACSPA—JFS, ACS and ACSPA are not listed anywhere in

   Exhibit B-8. Given the absence of a direct connection between named defendants and “Simmonds

   Realty Team,” Plaintiff has failed to state a claim for removal of copyright management

   information. Accordingly, Defendants ask this Court to dismiss Count V.

      VI.       Failure to State a Claim Against Bradley or KW Port St. Lucie Regarding Three
                of Four Works Alleged—Counts VII, VIII and IX

      “A ‘claim has facial plausibility when the plaintiff pleads factual content that allows the court

   to draw the reasonable inference that the defendant is liable for the misconduct alleged.’” Garcia-

   Bengochea v. Carnival Corp., 407 F. Supp. 3d 1281, 1285–86 (S.D. Fla. 2019), motion to certify

   appeal denied, 2019 WL 7945691 (S.D. Fla. 2019) (quoting Iqbal, 129 S.Ct. 1937, 1949).

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       Here, Plaintiff has not alleged an adequate factual basis to support those claims directed to

   Bradley or those that arise from Bradley’s allegedly infringing activities as it relates to three of the

   four Works identified by Plaintiff. More specifically, Plaintiff has failed to establish Bradley

   infringed or removed CMI from “71 N River Dr night a,” “71 N River Dr night c,” or “71 N River

   Dr sunset” as identified in the Amended Complaint. See Amended Complaint, ¶45. More

   specifically, the MLS Reports provided in Exhibit B-7 [D.E. 17-8] do not demonstrate that Bradley

   uploaded copies of the three Works identified, nor is there any indication that Bradley removed

   any CMI from the same.

           Exhibit B-7, which is directed to Bradley and the listing for 71 N. River Dr., identifies a

   total of four separate Works that are copyrighted by Plaintiff and attempts to establish that Bradley

   added the Works to the listing. However, the photos uploaded by Bradley are not neatly labeled to

   demonstrate that Bradley uploaded the Works at issue. Bradley added several images, but most of

   the names of those images do not provide any indication of which photos they are related to. For

   example, “71 N River Dr. night c” is clearly labeled “POOL” in the listing (p. 32), but there is no

   particular corresponding image name to indicate which image Bradley uploaded. In other words,

   almost all of the images uploaded by Bradley had generic names with no further designation. See

   Ex. B-7, p. 28-29 (i.e., “006_preview,” “frontnewsky1_pre,” “download (2)”). Moreover, Plaintiff

   identifies several other works that were uploaded by Bradley, but that are not listed in the Amended

   Complaint. For example, at page 34, Plaintiff points to “ELEGANT VIEW,” “BOAT DOCK,”

   “WATER VIEW,” and “AERIAL VIEW;” however, only the “AERIAL VIEW” Work is

   identified in the Amended Complaint. See Amended Complaint, ¶45. Similarly, the images entitled

   “REAR POOL VIEW,” “REAR OF HOUSE” and “PATIO WATER VIEW” do not relate to any


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   identified copyright at issue in this case. In other words, Plaintiff attempts to include several

   additional, supposedly copyrighted works that are not at issue in the Amended Complaint in an

   attempt to bolster those claims against Bradley.

          As it pertains to the Works at issue entitled “71 N River Dr Night C,” “71 N River Dr Night

   A” and “River Dr Sunset,” Plaintiff has failed to establish any factual basis or causal connection

   demonstrating Bradley specifically infringed on Plaintiff’s rights in those works, nor does Plaintiff

   describe any factual basis for the same. Plaintiff’s simple reference to Bradley and Exhibit B-7,

   along with the lack of any clear causal connection renders Plaintiff’s claim for copyright

   infringement against Bradley in Count VII for these specific Works as a nullity. Thus, as it relates

   to Count VII, Plaintiff has failed to state a claim with regards to the works entitled “71 N River Dr

   Night C,” “71 N River Dr Night A” and “River Dr Sunset.” Accordingly, Defendants ask that this

   Court dismiss Count VII as it relates to the above referenced Works.

      Count VIII alleges Bradley removed copyright management information from the four Works

   identified in Exhibit B-7 (“71 N River Dr Night C,” “71 N River Dr Night A,” “River Dr Sunset,”

   and “Sewells Point aerial a 2015”). However, unlike the other exhibits that attempt to demonstrate

   that copyright management information was removed from the works at issue, there is no

   indication that Bradley removed any CMI. Compare Ex. B-1 [D.E. 17-2], p. 21, 23; Ex. B-4 [D.E.

   17-5], p. 8; Ex. B-8 [D.E. 17-9], p. 11. The only factual basis provided as to Bradley’s alleged

   removal of copyright management information generally states that “defendants removed

   copyright management information from the Works as evidenced by the documents attached

   hereto in Exhibit B, subsections c (Exhibit B-1c Lavoll; Exhibit B-4c; Exhibit B-7c Bradley;

   Exhibit B-8c, Simmonds).” Amended Complaint, ¶55 (emphasis added). Given Plaintiff relies


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   solely on Exhibit B-7 to demonstrate the factual basis for Count VIII and wholly fails to make any

   showing that Bradley removed CMI from any of the Works identified in Exhibit B-7, Count VIII

   must be dismissed for Plaintiff’s failure to state a claim.

      Finally, Count IX alleges vicarious copyright infringement against KW Port St. Lucie for

   Bradley’s alleged infringing activities. See Amended Complaint, ¶¶122-128. However, there is no

   causal connection between the images Bradley uploaded to the MLS Listing and the copyrighted

   works identified. Id. at ¶45. As it pertains to the works at issue entitled “71 N River Dr Night C,”

   “71 N River Dr Night A” and “71 N River Dr Sunset,” Plaintiff has failed to establish any factual

   basis or causal connection demonstrating Bradley specifically infringed on Plaintiff’s rights in

   those Works, and therefore, has also failed to establish a claim for vicarious copyright infringement

   against KW Port St. Lucie for the same alleged infringing activity. Plaintiff’s reference to Bradley

   and Exhibit B-7, along with the lack of any clear causal connection showing when Bradley

   allegedly added copies of these Works to the MLS Listing renders Plaintiff’s claim for copyright

   infringement against Bradley in Count VII, and therefore, the requisite basis to establish a claim

   for Count IX, insufficient. Thus, as it relates to Count IX and KW Port St. Lucie’s vicarious

   copyright infringement based on Bradley’s allegedly infringing activities, Plaintiff has failed to

   state a claim with regards to the works entitled “71 N River Dr Night C,” “71 N River Dr Night

   A” and “River Dr Sunset.” Accordingly, Defendants ask that this Court dismiss Count IX as it

   relates to the above referenced works.

          WHEREFORE, Defendants, SAFE HARBOR REALTY, LLC d/b/a KELLER

   WILLIAMS REALTY OF THE PALLM BEACHES; TRACEY LAVOLL; SAFE HARBOUR

   REALTY OF JUPITER, LLC d/b/a KELLER WILLIAMS REALTY OF JUPITER; MCKINLEY


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   NAVAROLI, P.A.; MCKINLEY NAVAROLI; LORI HOBIN, P.A.; LORI HOBIN; JOHN

   FREDERICK           SIMMONDS,                AMY          CATHLEEN                SIMMONDS;                AMY          CATHLEEN

   SIMMONDS, P.A.; SAFE HARBOR REALTY OF PORT ST. LUCIE LLC d/b/a KELLER

   WILLIAMS REALTY OF PORT ST. LUCIE and MARK STEVEN BRADLEY, respectfully

   request that this Court dismiss Count I, Count II, Count III, Count V and Count VIII in their

   entirety; Count IV and VI as it relates to Hobin/LHPA, JFS/ACS/ACSPA; Count IV and Count VI

   as it relates to Navaroli/MNPA and the 880 Taft Ct. Listing; and Count VII and Count IX as it

   relates to the works entitled “71 N River Dr Night C,” “71 N River Dr Night A” and “River Dr

   Sunset,” or in the alternative, enter an order for more definite statement.

          Respectfully submitted on this 1st day of April, 2021.

                                                             COLE, SCOTT & KISSANE, P.A.
                                                             Counsel for Defendants SAFE HARBOR REALTY,
                                                             LLC d/b/a KELLER WILLIAMS REALTY OF THE
                                                             PALLM BEACHES; TRACEY LAVOLL; SAFE
                                                             HARBOUR REALTY OF JUPITER, LLC d/b/a
                                                             KELLER WILLIAMS REALTY OF JUPITER;
                                                             MCKINLEY NAVAROLI, P.A.; MCKINLEY
                                                             NAVAROLI; LORI HOBIN, P,A.; LORI HOBIN;
                                                             JOHN FREDERICK SIMMONDS; AMY
                                                             CATHERINE SIMMONDS, P,A.; AMY CATHERINE
                                                             SIMMONDS; SAFE HARBOR REALTY OF PORT
                                                             ST. LUCIE LLC d/b/a KELLER WILLIAMS REALTY
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                                                     By: s/ Justin B. Levine
                                                         JUSTIN B. LEVINE
                                                         Florida Bar No.: 106463


                                              CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on this 1st day of April, 2021, a true and correct copy of the foregoing
   was filed with the Clerk of the court via CM/ECF, which will send notive of electronic filing to
   counsel of record.




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